     Case 8-16-75545-reg            Doc 345-3        Filed 06/16/17     Entered 06/16/17 13:44:21




KLESTADT WINTERS JURELLER                                    Hearing Date: July 10, 2017
SOUTHARD & STEVENS, LLP                                      Hearing Time: 1:30 p.m.
200 West 41st Street, 17th Floor
New York, NY 10036-7203                                      Objection Deadline: July 3, 2017
Telephone: (212) 972-3000
Facsimile: (212) 972-2245
Sean C. Southard
Lauren C. Kiss

Counsel to the Debtor and Debtor-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re                                                           :   Chapter 11
                                                                :
DOWLING COLLEGE,                                                :
f/d/b/a DOWLING INSTITUTE,                                      :   Case No. 16-75545 (REG)
f/d/b/a DOWLING COLLEGE ALUMNI                                  :
ASSOCIATION,                                                    :
f/d/b/a CECOM,                                                  :
a/k/a DOWLING COLLEGE, INC.,                                    :
                                                                :
                                             Debtor.            :
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    NOTICE OF HEARING ON DEBTOR’S MOTION FOR AN ORDER PURSUANT
   TO SECTIONS 105(a) AND 363 OF THE BANKRUPTCY CODE APPROVING THE
    SALE OF THE DEBTOR’S FURNITURE AND EQUIPMENT LOCATED AT THE
      OAKDALE CAMPUS TO PRINCETON EDUCATION CENTER LLC FREE
          AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES

        PLEASE TAKE NOTICE that a hearing on the motion (the “Motion”) of Dowling
College (“Dowling” or the “Debtor”), debtor and debtor-in-possession in the above-captioned
chapter 11 case (the “Chapter 11 Case”), for an order, pursuant to Sections 105(a) and 363 of
Title 11 of the United States Code, and Rules 2002 and 6004 of the Federal Rules of Bankruptcy
Procedures approving the sale of the Debtor’s furniture and equipment located at the Oakdale
Campus to Princeton Education Center LLC free and clear of liens, claims and encumbrances, a
copy of which is annexed to the Motion as Exhibit A, has been scheduled before the Honorable
Robert E. Grossman, United States Bankruptcy Judge, at the United States Bankruptcy Court for
the Eastern District of New York, Alfonse M. D’Amato Federal Courthouse, 290 Federal Plaza,
Courtroom 860, Central Islip, New York 11722 on July 10, 2017 at 1:30 p.m. (the “Hearing”).

        PLEASE TAKE FURTHER NOTICE that responses, if any, to the relief sought in the
Motion shall be made in writing, filed with the Court by registered users of the Court’s electronic
case filing system and, by all other parties in interest, mailed to the Clerk of the United States
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Bankruptcy Court, Eastern District of New York, 271 Alfonse M. D’Amato Federal Courthouse,
290 Federal Plaza, Central Islip, New York 11722, on a 3.5 inch floppy disc or compact disc,
preferably in portable document Format (PDF), Microsoft Word, or any other Windows Based
word processing format, and served upon (i) The Office of the United States Trustee for the
Eastern District of New York, Alfonse D’Amato Federal Courthouse, 560 Federal Plaza, Central
Islip, New York 11722, Attn: Stan Yang, Esq., Trial Attorney; (ii) counsel to the Debtor:
Klestadt Winters Jureller Southard & Stevens, LLP, 200 West 41st Street, 17th Floor, New York,
New York 10036, Attn: Sean C. Southard, Esq.; (iii) counsel to the Debtor’s material prepetition
and post-petition secured lenders: (a) Mintz, Levin, Cohn, Ferris, Glovsky, and Popeo, P.C., One
Financial Center, Boston, Massachusetts 02111, Attn: P. Miyoko Sato, Esq. and Ian A. Hammel,
Esq., (b) Schulte Roth & Zabel LLP, 919 Third Avenue, New York, New York 10022, Attn:
Brian D. Pfeiffer, Esq. and Neil S. Begley, Esq., (c) Certilman Balin Adler & Hyman, LLP, 90
Merrick Avenue, 9th Floor, East Meadow, NY 11554, Attn: Richard J. McCord, Esq. and
Thomas J. McNamara, Esq., and (d) Garfunkel Wild, P.C., 111 Great Neck Road, Great Neck,
NY 11021, Attn: Adam T. Berkowitz, Esq.; (iv) counsel to the Creditors’ Committee:
SilvermanAcampora, LLP, 100 Jericho Quadrangle, Suite 300, Jericho, New York 11753, Attn:
Ronald J. Friedman, Esq.; and (v) counsel to Princeton Education Center LLC, Liu, Zheng, Chen
and Hoffman LLP, 358 5th Avenue, Suite 1003, New York, New York 10001, Attn: Jim
Chengyu Hou, Esq., so as to be received no later than 4:00 p.m. (Prevailing Eastern Time)
on July 3, 2017.

       PLEASE TAKE FURTHER NOTICE that the hearing on the Motion may be
adjourned without further notice except as announced in open court at the Hearing, or at any
adjourned hearing.

Dated: New York, New York
       June 16, 2017
                                                   KLESTADT WINTERS JURELLER
                                                    SOUTHARD & STEVENS, LLP


                                           By: /s/ Sean C. Southard
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                                                     Possession




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